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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

CONSTANTIN LAND TRUST                              * CIVIL ACTION NO.: 12-CV-00179
                                                   *
versus                                             * JUDGE KURT ENGELHARDT
                                                   *
BP AMERICA PRODUCTION COMPANY,                     * MAGISTRATE ALMA CHASEZ
BP EXPLORATION & PRODUCTION,                       *
SEA SUPPORT SERVICES, L.L.C. AND                   *
RANDY J. ADAMS                                     *
***************************************            *

                             MEMORANDUM IN SUPPORT OF
                                MOTION TO REMAND

MAY IT PLEASE THE COURT:

         COMES NOW, Constantin Land Trust (“CLT”) which moves this Honorable Court to

remand this matter back to the 17th Judicial District Court for the Parish of Lafourche, State of

Louisiana, for the reasons that this court lacks subject matter jurisdiction and the removal is

procedurally improper as it is precluded by the forum defendant rule, 28 U.S.C. §1441(a) & (b),

all as more fully stated below.

I.       FACTUAL AND PROCEDURAL BACKGROUND

         CLT, a Louisiana trust, is the sole, recorded owner of tracts of property surrounding,

underneath, and encompassing the Sinclair Canal, Turning Basin, and the Seafood and Pipeline

Docks along Highway 1 and the Texaco Dock on or near Bayou Lafourche, Parish of Lafourche,

State of Louisiana. Randy J. Adams, a Louisiana resident, (“Adams”) and Sea Support Services,

LLC, a Louisiana limited liability corporation (“Sea Support”), negligently negotiated or

brokered an agreement on behalf BP America Production Company and BP Exploration and

Production, Inc. (“BP”), for BP’s use of properties owned by CLT, without CLT’s authority or

permission.     During its oil spill response activities, BP illegally trespassed, occupied,


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constructed, dumped, and converted to its own use, CLT’s properties without any written

agreement or authorization from the recorded landowner, CLT. As a result of these illegal

actions and trespasses, CLT has sustained property damages caused by the negligence of all of

the defendants.

        CLT brought suit against BP, a Delaware Corporation, licensed to do and doing business

in this State, Sea Support, a Louisiana limited liability corporation, and Adams, a Louisiana

resident in the 17th Judicial Court for the State of Louisiana entitled: Constantine Land Trust v.

BP America Production Company and BP Exploration and Production, Inc., Sea Support

Services, LLC and Randy J. Adams, Docket No. 11-9084. In this suit, CLT asserts causes of

action against Adams and Sea Support under the Louisiana State laws of negligence, Article

2315, La.C.C., intentional tort, trespass, conversion, and damage to its property, located within

the State of Louisiana. These actions arise out of Adams and Sea Support’s negligence in

negotiating an agreement between BP and Jay Pitre of Pitrie Industries, Inc. and Pitre Rae

Partnership (“Pitre”) for the use of CLT’s property without any authority or permission from

CLT. No federal causes of action or violations of federal statutes are alleged.

II.     LAW

        1.        Remand – Applicable Standard

        Federal District Courts are courts of limited jurisdiction. Rasul v. Bush, 542 U.S. 466,

489 (2004); Johnson v. The United States, 460 F. 3d 616, 621 n. 6 (5 th Cir. 2006); McKee v.

Kansas City S. Ry. Co., 358 F. 3d 329, 337 (5th Cir. 2004). They possess only that power

authorized by the Constitution and Statute, which cannot be expanded by judicial decree. Rasul,

542 U.S. at 489. “The Court must presume that a suit lies outside this limited jurisdiction, and




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the burden of establishing federal jurisdiction rests on the party seeking the federal forum.”

Howery v. Allstate Ins. Co., 243 F. 3d 912, 916 (5 th Cir.), cert. denied, 534 U.S. 993 (2001).

       In an action that has been removed to a Federal District Court, the Court is required to

remand the case to State Court if, at any time before final judgment, it determines that it lacks

subject matter jurisdiction. 28 U.S.C. §1447(c); Gropo Dataflux v. Atlas Global Group, L.P. at

541 U. S. 567, 571 (2004); In re: 1994 Exxon Chemical Fire, 558 F.3d 378 (5th Cir. 2009);

McDonal v. Abbott Labs, 48 F.3d 177, 182 (5th Cir.). The removing party bears the burden of

showing that Federal jurisdiction exists and that removal is proper. Manguno v. Prudential

Property & Casualty Insurance Company, 276 F.3d 720, 723 (5 th Cir. 2002); Gutierez v. Flores¸

543 F.3d 248, 251 (5th Cir. 2008). This extends not only to demonstrating a jurisdictional basis

for removal, but also compliance with the requirements of the removal statutes.

       Only State Court actions that originally could have been filed in Federal Court may be

removed to Federal Court by the defendants. Caterpillar, Inc. v. Williams, 482 U.S. 386, 392

(1987); 28 U.S.C. §1441(a); Aetna Health, Inc. v. Davila, 542 U.S. 200, 207 (2004). Because

removal raises significant federalism concerns, the removal statutes are strictly and narrowly

construed, with any doubt resolved against removal and in favor of remand. Shamrock Oil & Gas

Corp. v. Sheets, 313 U. S. 100, 108 – 109 (1941), Gutierez, 543 F.3d at 261.

       2.      Complete Diversity of Citizenship Required

       Federal courts have subject matter jurisdiction and are authorized to entertain causes of

action only where a question of federal law is involved or where there is diversity of citizenship

between the parties and the amount in controversy exceeds $75,000.00, exclusive of interest and

costs. 28 U.S.C. §1331 & §1332; Exxon Mobil Corp. v. Allapattah Services, Inc., 545 U.S. 546,

552 (2005). In order to determine whether jurisdiction is present in a removed action, the claims



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set forth in the state court Petition are considered as of the date of removal. Campbell v. Stone

Insurance, Inc., 519 F. 3d 665, 669 M.2 (5th Cir. 2007).

         In a removed case where, as here, there is no suggestion that a federal question is

involved, subject matter jurisdiction exists only if there is complete diversity among the parties

and the amount of controversy exceeds $75,000.00. 28 U.S.C. §1332, Caterpillar, Inc. 519 U. S.

61, 68. Exxon Mobil Corp. 535 U.S. at 552. Complete diversity requires that no plaintiff be a

citizen of the same state as any defendant. Exxon Mobil Corp. 545 U.S. at 552; Caterpillar, Inc.

519 U.S. at 68. Furthermore, removal is appropriate only if none of the parties properly joined

and served as defendants are citizens of the State in which the action was brought. 28 U.S.C.

§1441(b), Crockett v. R. J. Reynolds Tobacco Company, 436 F.3d 529, 531-532 (5th Cir. 2006).

III.     THE REMOVAL

         On January 20, 2012, BP filed a Notice of Removal with this Court. (Rec. Doc. 1) The

Notice described the action as a civil one between plaintiff, CLT represented by its trustee,

James Constantin, and defendants, BP, a Delaware corporation, doing business within this state,

and two Louisiana defendants, Sea Support, a Louisiana limited liability corporation and a

Louisiana resident, Adams. The Notice alleges this Court has subject matter jurisdiction over

this action pursuant to diversity, 28 U.S.C. §1332 (a) because all defendants are of diverse

citizenship and the amount in controversy exceeds $75,000.00.

         In Randy J. Adams, President and managing member of Sea Support’s self-serving

affidavit, Adams admits that he, acting on behalf of BP, without any authority from the recorded

property owner, CLT, negotiated an agreement with Pitre for BP’s use of CLT’s property, boat

slips and yards in Lafourche Parish. (See Rec. Doc. 1-2, Exhibit “A” of BP’s Notice). It is

irrelevant that Adams claims to have negotiated an agreement with Pitre or that he or Sea



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Support did not use or dump materials on CLT’s property. CLT is the proper registered and

recorded owner of the property, not Pitre. CLT never gave Adams authority or permission to

negotiate any agreements for the use of its property. However, if Adams had checked the public

records, he would have learned that CLT was the recorded owner of the property. Clearly, CLT

has asserted a proper negligence cause of action against Adams and Sea Support, with more than

a reasonable chance of recovery, for their negligence in negotiating an agreement for the use of

CLT’s property without authority from CLT.

       In a second Affidavit, Mclemore, a BP employee at the Fourchon Forward Operating

Base, admits that BP damaged the property by installing numerous “improvements” in

connection with their oil spill response at the Leeville Boat Slip, Yard Space and Properties,

located along Highway 1 in Lafourche Parish, and did not remove these new pilings or

improvements. (See Rec. Doc. 1-3, Exhibit “B”).

       1.      Improper Joinder Standard

       In order to establish improper or fraudulent joinder of a co-defendant, the removing

defendant must establish either: “actual fraud in the pleading of jurisdictional facts” or “an

inability of the plaintiff to establish a cause of action against a non-diverse party in State court.”

Smallwood v. Illinois Central RR Company, 385 F. 3d 568 (5th Cir. 2004) (en banc), cert denied

by Illinois Central RR Company v. Smallwood, 544 U.S. 992 (2005).

       The Fifth Circuit, en banc, has dictated that fraudulent joinder occurs "where there is no

reasonable basis in fact or colorable ground supporting the claim against the joined defendant, or

no real intention in good faith to prosecute the action against the defendant or seek a joint

judgment." Smallwood, 385 F.3d at 574. 1A Moore's Federal Practice, p 0.161 at 274-76 (2d ed.

1989). A district court must resolve all contested issues of substantive fact in favor of the



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plaintiff and must resolve any uncertainties as to the current state of controlling substantive law

in favor of the plaintiff. Carriere v. Sears, Roebuck, and Company, 893 F. 2d 98, 100 (5th Cir.

1990). "If there is even a possibility that a state court would find that the Complaint states a

cause of action against any one of the resident defendants, the federal court must find that joinder

was proper and remand the case to state court." Coker v. Amoco Oil Co., 709 F.2d 1433, 1440-

1441(11th Cir.1983). If removal is based on the claim that non diverse parties have been

improperly joined, then the removing party must establish either "actual fraud in the pleading of

jurisdictional facts" or "an inability of the plaintiff to establish a cause of action against the non

diverse party in state court." Smallwood, 385 F.3d 568, (citing Travis v. Irby, 326 F.3d 644 (5th

Cir. 2003)). Only the latter method is relevant here because defendants do not allege actual

fraud. Specifically, in this case, there is no suggestion that CLT has falsely alleged the

citizenship of any of the defendants. Second, the causes of actions alleged against the individual

defendants are not defective as a matter of law.

       Under well established Louisiana law, "[a] trespass occurs when there is an unlawful

physical invasion of the property or possession of another." Richard v. Richard, 09-539, p. 5,

(La. App. 3 Cir. 11/04/09), 24 so.2d 292, 296. A trespasser is "'one who goes upon the property

of another without the other's consent.'" Pepper v. Triplet, No. 03-619, p. 23, (La.1/21/04),864

So.2d 181, 197, quoting Williams v. J.B. Levert Land Co., 162 So.2d 53, 58 ( La. App. 1st Cir.

1964). "Even though the work may have been done by another, the party supervising and/or

directing the work and ordering the trespass is liable." Richard v. Richard, No. 09-539, at p. 5,

24 (La. App. 3rd Cir. 2009), So. 3d at 296. [A] defendant may be held liable for trespass even in

the absence of intent— i.e. when the plaintiff offers proof that the defendant was at fault in

causing the trespass pursuant to the general tort article, Article 2315, La. C.C.; M. Cresson,



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Comment, "The Louisiana Trespass Action: A `Real' Problem," 56 La. L.Rev. 477 (1995),

citing Phillips v. Town of Many, 538 So.2d 745 (La. App. 3d Cir. 1989); Brown v. Bedsole, 447

So.2d 1177 (La. App. 4 Cir. 11/14/2001); 803 So.2d 86, 96, writ denied, No. 01-3292 (La.

3/8/2002), 811 So.2d 887.

        CLT’s Petition for Damages alleges valid state law causes of action against all defendants

for their negligence. Sea Support and Adams admit he acted as a broker or agent for BP in

negligently negotiating or bro kering BP’s illegal use, trespass, and conversion of CLT’s property,

without its consent or authorization with Pitre.       Adams had no contractual or employment

relationship nor any authority of any nature with CLT to negotiate an agreement.              It is

undisputed that Adams and Sea Support were negligent, and CLT has sustained damages as a

result of their negligence. (Rec. Doc. 1-2, Exhibit No. “A”).

        Adams was paid by BP. CLT’s ownership of the property in question was a matter of

public record. There is no recorded document that establishes a right of Adams, Sea Support, or

Pitre to lease, sublease, assign or enter into any agreement on behalf of CLT for any of CLT’s

property. (Rec. Doc. 1-2, Exhibit No. “A”). Clearly, had Adams checked the public records, he

would have learned CLT was the registered, recorded owner of the property. Under the factual

allegations of the Petition, there is a reasonable basis to conclude that under established

Louisiana law, Adams and Sea Support were negligent. CLT has more than a reasonable chance

to recover from all defendants for its property damages, and all co-defendants are properly

joined, precluding removal. Smallwood, 385 F.3d 568, 574;28 U.S.C. §1441(b).

IV.     FORUM DEFENDANT RULE

        The “forum defendant rule” refers to the prohibition of §1441(b) that a defendant may not

remove a case from state to federal court where the defendant is a citizen of the state in which



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the action is brought and diversity of citizenship jurisdiction is the basis of the court’s subject

matter jurisdiction. In other words, where any defendant is a citizen of the state where the action

has been brought, there is no diversity jurisdiction and removal under § 1441(a) and (b) is

therefore, improper. The “forum defendant rule” is codified in 28 U.S.C. §1441 which provides:

           (a) Except as otherwise expressly provided by Act of Congress, any civil
           action brought in a State court of which the district courts of the United
           States have original jurisdiction, may be removed by the defendant or the
           defendants, to the district court of the United States for the district and
           division embracing the place where such action is pending. . . .

           (b) Any civil action of which the district courts have original jurisdiction
           founded on a claim or right arising under the Constitution, treaties or laws of
           the United States shall be removable without regard to the citizenship or
           residence of the parties. Any other such action shall be removable only if
           none of the parties in interest properly joined and served as defendants is a
           citizen of the State in which such action is brought. (Emphasis added)

       Here, it is undisputed that co-defendants, Sea Support and Adam are citizens of

Louisiana, the state in which the removal action was brought. CLT has properly joined and

served these defendants. It is also undisputed that defendant, BP has asserted diversity of

citizenship jurisdiction as the basis for the subject matter jurisdiction of this Court. Clearly, BP’s

removal is procedurally defective under §1441(b) which prohibits removal where two properly

served defendants are citizens of the State in which the action is brought. Ariel Land Owners,

Inc. v. Dring, 351 F.3d 611, 613 (3d Cir. 2003).

V.     ATTORNEYS’ FEES AND COSTS

       CLT contends it should be awarded its attorneys’ fees and costs because defendants’

removal is inappropriate and frivolous. “An Order remanding the case may require payment of

just costs and actual expenses, including attorneys’ fees, incurred as a result of the removal.” 28

U.S.C. §1447(c). The propriety of the removal is central in determining whether to impose fees

in the remand Order. McGuire Oil Company v. City of Houston, Texas, 143 F. 3d 2005, 2009


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(5th Cir. 1998). This bad faith removal was clearly procedurally improper and should never have

been brought.

                                        CONCLUSION

       For the foregoing reasons, plaintiff’s Motion to Remand should be granted.

                                     Respectfully submitted,

                                     REICH, ALBUM & PLUNKETT, L.L.C.


                                     /S/ ROBERT S. REICH
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all

counsel of record by hand delivery, electronic delivery, facsimile transmission, or by placing

same in the U. S. Mail, postage prepaid, this 27th day of January 2012.



                                     /S/ ROBERT S. REICH




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